Case 4:07-cv-05944-JST Document 3027-3 Filed 11/07/14 Page 1 of 34




                  EXHIBIT 2
          Case 4:07-cv-05944-JST Document 3027-3 Filed 11/07/14 Page 2 of 34



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   Attorneys for Defendant Koninklijke Philips N.V.
13

14                                 UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF CALIFORNIA
15
                                      SAN FRANCISCO DIVISION
16

17 In re: CATHODE RAY TUBE (CRT)                         Master File No. 3:07-cv-05944-SC (N.D. Cal.)
   ANTITRUST LITIGATION
18                                                       MDL No. 1917
   ________________________________________
19                                                       OBJECTIONS AND RESPONSES OF
                                                         DEFENDANT KONINKLIJKE PHILIPS
20 This Document Relates to:                             N.V. TO DIRECT ACTION PLAINTIFFS’
                                                         FIRST SET OF REQUESTS FOR
21 Electrograph Systems, Inc., et al. v. Hitachi,        ADMISSION
   Ltd., et al., No. 11-cv-01656;
22
   Siegel v. Hitachi, Ltd., et al. No. 11-cv-
23 05502;

24 Best Buy Co., Inc., et al. v. Hitachi, Ltd., et
   al., No. 11-cv-05513;
25
   Target Corp, et al. v. Chunghwa Picture
26 Tubes, Ltd., et al., No. 11-cv-05514;

27 Interbond Corporation of America v.
   Hitachi, et al., No. 11-cv-06275;
28
   Office Depot, Inc. v. Hitachi Ltd., et al.,
                                                                                                MDL 1917
          KONINKLIJKE PHILIPS N.V. OBJECTIONS AND RESPONSES TO DIRECT ACTION PLAINTIFFS’ FIRST SET OF
                                            REQUESTS FOR ADMISSION
          Case 4:07-cv-05944-JST Document 3027-3 Filed 11/07/14 Page 3 of 34



 1 No. 11-cv-06276;

 2 CompuCom Systems, Inc. v. Hitachi, Ltd.,
   et al., No. 11-cv-06396;
 3
   Costco Wholesale Corporation v. Hitachi,
 4 Ltd., et al., No. 11-cv-06397;

 5 P.C. Richard & Son Long Island
   Corporation, et al. v. Hitachi, Ltd., et al.,
 6 No. 12-cv-02648;

 7 Schultze Agency Services, LLC, et al. v.
   Hitachi, Ltd., et al., No. 12-cv-02649;
 8
   Tech Data Corporation, et al. v. Hitachi,
 9 Ltd., et al., No.13-cv-00157;

10 DAPs Inc. and DAPs Products L.P. v. Hitachi
   Ltd., et al., No.13-cv-02171;
11
   Siegel v. Technicolor SA, et al., No. 13-cv-
12 05261;

13 Sears, Roebuck & Co., et al. v. Technicolor
   SA, et al., No. 13-cv-05262;
14
   Best Buy Co., Inc., et al. v Technicolor SA,
15 et al., No.13-cv-05264;

16 Schultze Agency Services, LLC v.
   Technicolor SA, et al., No. 13-cv-05668;
17
   Target Corp., v. Technicolor SA, et al.,
18 No.13-cv-05686;

19 Costco Wholesale Corporation v.
   Technicolor SA, et al., No. 13-cv-05723;
20
   Electrograph Systems, Inc., et al. v.
21 Technicolor SA, et al., No. 13-cv-05724;

22 P.C. Richard & Son Long Island
   Corporation, et al. v. Technicolor SA, et al.,
23 No. 13-cv-05725;

24 Office Depot, Inc., v. Technicolor SA, et al.,
   No. 13-cv-05726;
25
   Interbond Corporation of America v.
26 Technicolor SA, et al., No. 13-cv-05727.

27
     PROPOUNDING PARTY:                             Direct Action Plaintiffs Electrograph Systems, Inc. and
28                                                  Electrograph Technologies Corp.; Alfred H. Siegel, solely
                                                    as Trustee of the Circuit City Stores, Inc. Liquidating
                                                         -2-
          KONINKLIJKE PHILIPS N.V. OBJECTIONS AND RESPONSES TO DIRECT ACTION PLAINTIFFS’ FIRST SET OF
                                            REQUESTS FOR ADMISSION
         Case 4:07-cv-05944-JST Document 3027-3 Filed 11/07/14 Page 4 of 34



 1                                             Trust; Best Buy Co., Inc., Best Buy Purchasing LLC, Best
                                               Buy Enterprise Services, Inc., Best Buy Stores, L.P.,
 2                                             Bestbuy.com, L.L.C., and Magnolia Hi-Fi, Inc.; Target
                                               Corp., Sears, Roebuck, and Co., Kmart Corp.; Interbond
 3                                             Corporation of America; Office Depot, Inc.; CompuCom
                                               Systems, Inc.; Costco Wholesale Corporation; P.C.
 4                                             Richard & Son Long Island Corporation, MARTA
                                               Cooperative of America, Inc., and ABC Appliance, Inc.;
 5                                             Schultze Agency Services, LLC on behalf of Tweeter
                                               Opco, LLC and Tweeter Newco, LLC; Tech Data
 6                                             Corporation and Tech Data Product Management, Inc.;
                                               and Dell Inc. and Dell Products L.P.
 7
     RESPONDING PARTY:                         KONINKLIJKE PHILIPS N.V.
 8
     SET NO.:                                  One
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         KONINKLIJKE PHILIPS N.V. OBJECTIONS AND RESPONSES TO DIRECT ACTION PLAINTIFFS’ FIRST SET OF
                                           REQUESTS FOR ADMISSION
     Case 4:07-cv-05944-JST Document 3027-3 Filed 11/07/14 Page 5 of 34



 1   available documents. KPNV further objects to this Request on the ground that it calls for a legal
 2   argument or legal conclusion. KPNV also objects to the terms “authentic” and “business record”
 3   because they are vague, ambiguous, overbroad, unduly burdensome, and not reasonably
 4   calculated to lead to the discovery of admissible evidence.
 5          Subject to and without waiving its foregoing objections, KPNV denies this Request.
 6   REQUEST NO. 10.
 7          Admit that in June 2001, Royal Philips and LGEI entered into the Joint Venture
 8   Agreement, in which Royal Philips and LGEI each agreed to transfer their entire CRT operations
 9   to the joint venture corporation, LPD.
10   RESPONSE TO REQUEST NO. 10
11          In addition to KPNV’s General Objections, which KPNV incorporates by reference,
12   KPNV specifically objects to this Request to the extent it is overly broad, unduly burdensome,
13   and seeks information that is maintained by and equally available to DAPs or stated in publicly
14   available documents. KPNV further objects to this Request on the ground that it calls for a legal
15   argument or legal conclusion. KPNV also objects to the terms “entered,” “transfer,” “entire,” and
16   “CRT operations” because they are vague, ambiguous, overbroad, unduly burdensome, and not
17   reasonably calculated to lead to the discovery of admissible evidence.
18          Subject to and without waiving its foregoing objections, KPNV admits this Request to the
19   extent that the parameters of the formation of LG.Philips Displays Holding B.V. are defined by
20   the joint venture agreement between KPNV and LG Electronics Inc.
21   REQUEST NO. 11.
22          Admit that in 2001 LPD was formed with Royal Philips and Philips GmbH holding a 50%
23   plus one share ownership interest.
24   RESPONSE TO REQUEST NO. 11
25          In addition to KPNV’s General Objections, which KPNV incorporates by reference,
26   KPNV specifically objects to this Request to the extent it is overly broad, unduly burdensome,
27   and seeks information that is maintained by and equally available to DAPs or stated in publicly
28
                                                   13                                        MDL 1917
       KONINKLIJKE PHILIPS N.V. OBJECTIONS AND RESPONSES TO DIRECT ACTION PLAINTIFFS’ FIRST SET OF
                                         REQUESTS FOR ADMISSION
     Case 4:07-cv-05944-JST Document 3027-3 Filed 11/07/14 Page 6 of 34



 1   available documents. KPNV further objects to this Request on the ground that it calls for a legal
 2   argument or legal conclusion. KPNV also objects to the terms “identify,” “used,” and “sold”
 3   because they are vague, ambiguous, overbroad, unduly burdensome, and not reasonably
 4   calculated to lead to the discovery of admissible evidence.
 5          Subject to and without waiving its foregoing objections, KPNV denies this Request.
 6

 7

 8   Dated: July 10, 2014                         BAKER BOTTS LLP
 9

10

11                                                Email: charles.malaise@bakerbotts.com
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12                                                1299 Pennsylvania Avenue, N.W.
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                                                  Facsimile: (202) 585-1037
14
                                                  Attorney for Koninklijke Philips N.V.
15

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                                                   31                                        MDL 1917
       KONINKLIJKE PHILIPS N.V. OBJECTIONS AND RESPONSES TO DIRECT ACTION PLAINTIFFS’ FIRST SET OF
                                         REQUESTS FOR ADMISSION
     Case 4:07-cv-05944-JST Document 3027-3 Filed 11/07/14 Page 7 of 34


                                      CERTIFICATE OF SERVICE
 1
            I HEREBY CERTIFY that I caused a true and correct copy of the documents listed below
 2
     to be served by e-mail transmission on July 10, 2014 to each of the persons set forth in the
 3
     attached service list below.
 4
                1. Koninklijke Philips N.V.’s Objections and Responses to DAPs’ First Set of
 5                 Requests for Admission
 6

 7   Dated: July 10, 2014
 8

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                                                  ___________________________
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                                                  Charles M. Malaise
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                                                   32                                        MDL 1917
       KONINKLIJKE PHILIPS N.V. OBJECTIONS AND RESPONSES TO DIRECT ACTION PLAINTIFFS’ FIRST SET OF
                                         REQUESTS FOR ADMISSION
     Case 4:07-cv-05944-JST Document 3027-3 Filed 11/07/14 Page 8 of 34



 1

 2                In re: Cathode Ray Tube (CRT) Antitrust Litigation - MDL No. 1917

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 8   Purchaser Plaintiffs                              Interim Lead Counsel for the Direct Purchaser
 9                                                     Plaintiffs
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12
                                                       Attorneys for the State of California
13   Liaison Counsel for Direct Action Plaintiffs
                                            All defense counsel
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                                                   33                                        MDL 1917
       KONINKLIJKE PHILIPS N.V. OBJECTIONS AND RESPONSES TO DIRECT ACTION PLAINTIFFS’ FIRST SET OF
                                         REQUESTS FOR ADMISSION
Case 4:07-cv-05944-JST Document 3027-3 Filed 11/07/14 Page 9 of 34




                  EXHIBIT 3




  (FILED UNDER SEAL)
Case 4:07-cv-05944-JST Document 3027-3 Filed 11/07/14 Page 10 of 34




                  EXHIBIT 4
         Case 4:07-cv-05944-JST Document 3027-3 Filed 11/07/14 Page 11 of 34



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 7 Joseph Ostoyich (pro hac vice)
   Erik T. Koons (pro hac vice)
 8 Charles M. Malaise (pro hac vice)
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   Facsimile: (202) 639-7890
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14 Attorneys for Defendant Philips Electronics North America Corporation

15
                                   UNITED STATES DISTRICT COURT
16                               NORTHERN DISTRICT OF CALIFORNIA
                                      SAN FRANCISCO DIVISION
17

18 In re: CATHODE RAY TUBE (CRT)                      Master File No. 3:07-cv-05944-SC (N.D. Cal.)
   ANTITRUST LITIGATION
19                                                    MDL No. 1917
   ________________________________________
20                                                    OBJECTIONS AND RESPONSES OF
                                                      DEFENDANT PHILIPS ELECTRONICS
21
     This Document Relates to:                        NORTH AMERICA CORPORATION TO
22                                                    INDIRECT PURCHASER PLAINTIFFS’
         ALL INDIRECT PURCHASER ACTIONS               FIRST SET OF INTERROGATORIES
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                                                                                         MDL 1917
         OBJECTIONS AND RESPONSES OF DEFENDANT PHILIPS ELECTRONICS NORTH AMERICA CORPORATION TO
                        INDIRECT PURCHASER PLAINTIFFS’ FIRST SET OF INTERROGATORIES
        Case 4:07-cv-05944-JST Document 3027-3 Filed 11/07/14 Page 12 of 34



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 2
     PROPOUNDING PARTY:                     Indirect Purchaser Plaintiffs
 3
     RESPONDING PARTY:                      Philips Electronics North America Corporation
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     SET NO.:                               One
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        OBJECTIONS AND RESPONSES OF DEFENDANT PHILIPS ELECTRONICS NORTH AMERICA CORPORATION TO
                       INDIRECT PURCHASER PLAINTIFFS’ FIRST SET OF INTERROGATORIES
     Case 4:07-cv-05944-JST Document 3027-3 Filed 11/07/14 Page 13 of 34



 1          Have You ever participated in any conspiracy to fix prices, limit production or capacity,
 2   allocate customers and/or allocate market share of CRTs?
 3   RESPONSE TO INTERROGATORY NO. 1
 4          In addition to PENAC’s General Objections, which PENAC incorporates by reference,
 5   PENAC specifically objects to this Interrogatory on the grounds that it is overbroad, unduly
 6   burdensome, and not reasonably calculated to lead to the discovery of admissible evidence.
 7   PENAC objects to this Interrogatory on the grounds that it calls for a legal conclusion.
 8          PENAC also objects to this Interrogatory on the grounds that the terms “participated” and
 9   “conspiracy,” “fix prices,” “limit production,” “capacity,” “allocate customers,” and “allocate
10   market share” are vague and ambiguous, rendering this Interrogatory overbroad, unduly
11   burdensome, and not reasonably calculated to lead to the discovery of admissible evidence.
12          Subject to and without waiving the objections stated above, PENAC never “participated
13   in any conspiracy to fix prices, limit production or capacity, allocate customers and/or allocate
14   market share of CRTs.”
15   INTERROGATORY NO. 2
16          If You contend that You withdrew from any CRT Conspiracy, state:
17                 (a) Why You withdrew from the conspiracy;
18                 (b) What specific acts You took to withdraw from the CRT Conspiracy;
19                 (c) Any co-conspirators or Law Enforcement Agents to whom You communicated
20                 Your withdrawal; and
21                 (d) Who withdrew from the CRT Conspiracy on your behalf.
22   RESPONSE TO INTERROGATORY NO. 2
23          In addition to PENAC’s General Objections, which PENAC incorporates by reference,
24   PENAC specifically objects to this Interrogatory on the grounds that it is overbroad, unduly
25   burdensome, not reasonably calculated to lead to the discovery of admissible evidence, and
26   seeks information that is maintained by and equally available to IPPs or stated in publicly
27   available documents. PENAC objects to this Interrogatory to the extent that the terms
28                                               10                                   MDL 1917
      OBJECTIONS AND RESPONSES OF DEFENDANT PHILIPS ELECTRONICS NORTH AMERICA CORPORATION TO
                     INDIRECT PURCHASER PLAINTIFFS’ FIRST SET OF INTERROGATORIES
     Case 4:07-cv-05944-JST Document 3027-3 Filed 11/07/14 Page 14 of 34



 1   “withdrew,” “withdraw,” and “withdrawal” call for a legal conclusion. PENAC also objects to
 2   this Interrogatory on the grounds that the terms “specific acts,” “co-conspirators,” and
 3   “communicated” are vague and ambiguous, rendering this Interrogatory overbroad, unduly
 4   burdensome, and not reasonably calculated to lead to the discovery of admissible evidence.
 5          Subject to and without waiving the objections stated above, PENAC states that PENAC
 6   never participated in any conspiracy. In addition to this fact, PENAC exited the CRT business in
 7   June 2001. At that time, Koninklijke Philips N.V. (“KPNV”) divested all of its CRT-related
 8   assets and operations to LP Displays (f/k/a LG.Philips Displays) (“LPD”), an independently
 9   operated joint venture between KPNV with LG Electronics. Therefore, upon the formation of
10   LPD, all subsidiaries of KPNV, including PENAC, divested their CRT manufacturing,
11   distribution, and selling assets. Upon the formation of LPD, KPNV communicated PENAC’s
12   exit from the manufacturing, distribution, and selling of CRTs. These communications were
13   open and notorious in the CRT industry.
14   INTERROGATORY NO. 3
15          If Your answer to Interrogatory No. 2, above, is in the affirmative, identify all Evidence
16   upon which You intend to rely to prove such contention.
17   RESPONSE INTERROGATORY NO. 3
18          In addition to PENAC’s General Objections, which PENAC incorporates by reference,
19   PENAC specifically objects to this Interrogatory on the grounds that it is overbroad, unduly
20   burdensome, not reasonably calculated to lead to the discovery of admissible evidence, and
21   seeks information that is maintained by and equally available to IPPs or stated in publicly
22   available documents. PENAC objects to this Interrogatory on the grounds that it calls for a legal
23   argument or legal conclusion. PENAC also objects that the terms “intend” and “contention” are
24   vague and ambiguous, rendering this Interrogatory overbroad, unduly burdensome, and not
25   reasonably calculated to lead to the discovery of admissible evidence.
26          Subject to and without waiving the objections stated above and pursuant to Federal Rule
27   of Civil Procedure 33(d), although not limited to the following, KPNV refers to the documents
28                                               11                                   MDL 1917
      OBJECTIONS AND RESPONSES OF DEFENDANT PHILIPS ELECTRONICS NORTH AMERICA CORPORATION TO
                     INDIRECT PURCHASER PLAINTIFFS’ FIRST SET OF INTERROGATORIES
     Case 4:07-cv-05944-JST Document 3027-3 Filed 11/07/14 Page 15 of 34



 1   Admission:
 2           (a) state the number of the request for admission;
 3           (b) state all facts upon which You base Your response;
 4          (c) identify all Evidence upon which You intend to rely to support your response; and
 5          (d) identify each person who has knowledge of the facts upon which you base your
 6          response.
 7   RESPONSE TO INTERROGATORY NO. 136 - REQUEST FOR ADMISSION NO. 127
 8          In addition to PENAC’s General Objections, which PENAC incorporates by reference,
 9   PENAC specifically objects to this Interrogatory on the grounds that it is overbroad, unduly
10   burdensome, not reasonably calculated to lead to the discovery of admissible evidence, and seeks
11   information that is maintained by and equally available to IPPs or stated in publicly available
12   documents. PENAC also objects to this Interrogatory on the grounds that it calls for a legal
13   argument or legal conclusion. PENAC further objects to the use of the terms “unqualified,”
14   “knowledge,” and “support” because they are vague and ambiguous, rendering this Interrogatory
15   overbroad, unduly burdensome, and not reasonably calculated to lead to the discovery of
16   admissible evidence.
17          Subject to and without waiving the objections, PENAC lacks sufficient knowledge to
18   either admit or deny IPPs’ Request for Admission No. 127 as the Request seeks detailed
19   information about the business practices of a third party.
20
     Dated: September 3, 2014                      BAKER BOTTS LLP
21

22

23
                                                   Email: charles.malaise@bakerbotts.com
24                                                 BAKER BOTTS LLP
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      OBJECTIONS AND RESPONSES OF DEFENDANT PHILIPS ELECTRONICS NORTH AMERICA CORPORATION TO
                     INDIRECT PURCHASER PLAINTIFFS’ FIRST SET OF INTERROGATORIES
     Case 4:07-cv-05944-JST Document 3027-3 Filed 11/07/14 Page 16 of 34


                                             Corporation
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      OBJECTIONS AND RESPONSES OF DEFENDANT PHILIPS ELECTRONICS NORTH AMERICA CORPORATION TO
                     INDIRECT PURCHASER PLAINTIFFS’ FIRST SET OF INTERROGATORIES
     Case 4:07-cv-05944-JST Document 3027-3 Filed 11/07/14 Page 17 of 34



 1                                   CERTIFICATE OF SERVICE
 2          I HEREBY CERTIFY that I caused a true and correct copy of the documents listed below
 3   to be served by e-mail transmission on September 3, 2014 to each of the persons set forth in the
 4   attached service list below.
 5
                1. Objections and Responses of Defendant Philips Electronics North America
 6
                   Corporation to Indirect Purchaser Plaintiffs’ First Set Of Interrogatories
 7

 8   Dated: September 3, 2014
 9

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11                                                ___________________________
12                                                Charles M. Malaise
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      OBJECTIONS AND RESPONSES OF DEFENDANT PHILIPS ELECTRONICS NORTH AMERICA CORPORATION TO
                     INDIRECT PURCHASER PLAINTIFFS’ FIRST SET OF INTERROGATORIES
     Case 4:07-cv-05944-JST Document 3027-3 Filed 11/07/14 Page 18 of 34



 1

 2
                  In re: Cathode Ray Tube (CRT) Antitrust Litigation - MDL No. 1917
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     Lauren C. Capurro (Russell)                       R. Alexander Saveri
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                                                       Attorneys for the State of California
13
     Liaison Counsel for Direct Action Plaintiffs
14                                          All defense counsel

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28                                              124                                   MDL 1917
      OBJECTIONS AND RESPONSES OF DEFENDANT PHILIPS ELECTRONICS NORTH AMERICA CORPORATION TO
                     INDIRECT PURCHASER PLAINTIFFS’ FIRST SET OF INTERROGATORIES
Case 4:07-cv-05944-JST Document 3027-3 Filed 11/07/14 Page 19 of 34




                  EXHIBIT 5
         Case 4:07-cv-05944-JST Document 3027-3 Filed 11/07/14 Page 20 of 34



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   John M. Taladay (pro hac vice)
 7 Joseph Ostoyich (pro hac vice)
   Erik T. Koons (pro hac vice)
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12 Email: erik.koons@bakerbotts.com
   Email: charles.malaise@bakerbotts.com
13

14 Attorneys for Defendant Philips Taiwan Limited

15
                                   UNITED STATES DISTRICT COURT
16                               NORTHERN DISTRICT OF CALIFORNIA
                                      SAN FRANCISCO DIVISION
17

18 In re: CATHODE RAY TUBE (CRT)                      Master File No. 3:07-cv-05944-SC (N.D. Cal.)
   ANTITRUST LITIGATION
19                                                    MDL No. 1917
   ________________________________________
20                                                    OBJECTIONS AND RESPONSES OF
                                                      DEFENDANT PHILIPS TAIWAN LIMITED
21
     This Document Relates to:                        TO INDIRECT PURCHASER PLAINTIFFS’
22                                                    FIRST SET OF INTERROGATORIES
         ALL INDIRECT PURCHASER ACTIONS
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                                                                                          MDL 1917
           OBJECTIONS AND RESPONSES OF DEFENDANT PHILIPS TAIWAN LIMITED TO INDIRECT PURCHASER
                                PLAINTIFFS’ FIRST SET OF INTERROGATORIES
        Case 4:07-cv-05944-JST Document 3027-3 Filed 11/07/14 Page 21 of 34



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     PROPOUNDING PARTY:                       Indirect Purchaser Plaintiffs
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     RESPONDING PARTY:                        Philips Taiwan Limited
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     SET NO.:                                 One
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      OBJECTIONS AND RESPONSES OF DEFENDANT PHILIPS TAIWAN LIMITED TO INDIRECT PURCHASER PLAINTIFFS’
                                      FIRST SET OF INTERROGATORIES
     Case 4:07-cv-05944-JST Document 3027-3 Filed 11/07/14 Page 22 of 34



 1   and not reasonably calculated to lead to the discovery of admissible evidence. PTL objects to
 2   this Interrogatory on the grounds that it calls for a legal conclusion.
 3          PTL also objects to this Interrogatory on the grounds that the terms “participated” and
 4   “conspiracy,” “fix prices,” “limit production,” “capacity,” “allocate customers,” and “allocate
 5   market share” are vague and ambiguous, rendering this Interrogatory overbroad, unduly
 6   burdensome, and not reasonably calculated to lead to the discovery of admissible evidence.
 7          Subject to and without waiving the objections stated above, PTL never “participated in
 8   any conspiracy to fix prices, limit production or capacity, allocate customers and/or allocate
 9   market share of CRTs.”
10   INTERROGATORY NO. 2
11          If You contend that You withdrew from any CRT Conspiracy, state:
12                  (a) Why You withdrew from the conspiracy;
13                  (b) What specific acts You took to withdraw from the CRT Conspiracy;
14                  (c) Any co-conspirators or Law Enforcement Agents to whom You communicated
15                  Your withdrawal; and
16                  (d) Who withdrew from the CRT Conspiracy on your behalf.
17   RESPONSE TO INTERROGATORY NO. 2
18          In addition to PTL’s General Objections, which PTL incorporates by reference, PTL
19   specifically objects to this Interrogatory on the grounds that it is overbroad, unduly burdensome,
20   not reasonably calculated to lead to the discovery of admissible evidence, and seeks information
21   that is maintained by and equally available to IPPs or stated in publicly available documents.
22   PTL objects to this Interrogatory to the extent that the terms “withdrew,” “withdraw,” and
23   “withdrawal” call for a legal conclusion. PTL also objects to this Interrogatory on the grounds
24   that the terms “specific acts,” “co-conspirators,” and “communicated” are vague and
25   ambiguous, rendering this Interrogatory overbroad, unduly burdensome, and not reasonably
26   calculated to lead to the discovery of admissible evidence.
27          Subject to and without waiving the objections stated above, PTL states that PTL never
28                                                10                                    MDL 1917
         OBJECTIONS AND RESPONSES OF DEFENDANT PHILIPS TAIWAN LIMITED TO INDIRECT PURCHASER
                              PLAINTIFFS’ FIRST SET OF INTERROGATORIES
     Case 4:07-cv-05944-JST Document 3027-3 Filed 11/07/14 Page 23 of 34



 1   participated in any conspiracy. In addition to this fact, PTL exited the CRT business in June
 2   2001. At that time, Koninklijke Philips N.V. (“KPNV”) divested all of its CRT-related assets and
 3   operations to LP Displays (f/k/a LG.Philips Displays) (“LPD”), an independently operated joint
 4   venture between KPNV with LG Electronics. Therefore, upon the formation of LPD, all
 5   subsidiaries of KPNV, including PTL, divested their CRT manufacturing, distribution, and
 6   selling assets. Upon the formation of LPD, KPNV communicated PTL’s exit from the
 7   manufacturing, distribution, and selling of CRTs. These communications were open and
 8   notorious in the CRT industry.
 9   INTERROGATORY NO. 3
10          If Your answer to Interrogatory No. 2, above, is in the affirmative, identify all Evidence
11   upon which You intend to rely to prove such contention.
12   RESPONSE INTERROGATORY NO. 3
13          In addition to PTL’s General Objections, which PTL incorporates by reference, PTL
14   specifically objects to this Interrogatory on the grounds that it is overbroad, unduly burdensome,
15   not reasonably calculated to lead to the discovery of admissible evidence, and seeks information
16   that is maintained by and equally available to IPPs or stated in publicly available documents.
17   PTL objects to this Interrogatory on the grounds that it calls for a legal argument or legal
18   conclusion. PTL also objects that the terms “intend” and “contention” are vague and
19   ambiguous, rendering this Interrogatory overbroad, unduly burdensome, and not reasonably
20   calculated to lead to the discovery of admissible evidence.
21          Subject to and without waiving the objections stated above and pursuant to Federal Rule
22   of Civil Procedure 33(d), although not limited to the following, KPNV refers to the documents
23   previously produced at the following Bates numbers: PHLP-CRT-027882; PHLP-CRT-031121;
24   PHLP-CRT-048010; PHLP-CRT-048011; PHLP-CRT-051463; PHLP-CRT-051470; PHLP-
25   CRT-051982; PHLP-CRT-105150LPD-NL00006873; LPD-NL00016305; LPD-NL00052859;
26   LPD-NL00053443; LPD-NL00282438; FOX00015812; FOX00385164; FOX00385886; HDP-
27   CRT00026009; HDP-CRT00026035; HDP-CRT00026061; HDP-CRT00040490; HEDUS-
28                                                11                                    MDL 1917
         OBJECTIONS AND RESPONSES OF DEFENDANT PHILIPS TAIWAN LIMITED TO INDIRECT PURCHASER
                              PLAINTIFFS’ FIRST SET OF INTERROGATORIES
     Case 4:07-cv-05944-JST Document 3027-3 Filed 11/07/14 Page 24 of 34



 1   specifically objects to this Interrogatory on the grounds that it is overbroad, unduly burdensome,
 2   not reasonably calculated to lead to the discovery of admissible evidence, and seeks information
 3   that is maintained by and equally available to IPPs or stated in publicly available documents.
 4   PTL also objects to this Interrogatory on the grounds that it calls for a legal argument or legal
 5   conclusion. PTL further objects to the use of the terms “unqualified,” “knowledge,” and
 6   “support” because they are vague and ambiguous, rendering this Interrogatory overbroad, unduly
 7   burdensome, and not reasonably calculated to lead to the discovery of admissible evidence.
 8          Subject to and without waiving the objections, PTL lacks sufficient knowledge to either
 9   admit or deny IPPs’ Request for Admission No. 127 as the Request seeks detailed information
10   about the business practices of a third party.
11

12
     Dated: September 3, 2014                         BAKER BOTTS LLP
13

14

15
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16                                                    BAKER BOTTS LLP
                                                      1299 Pennsylvania Avenue, N.W.
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                                                      Washington, D.C. 20004-2400
18                                                    Telephone: (202) 639-1117
                                                      Facsimile: (202) 585-1037
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                                                      Attorney for Philips Taiwan Limited
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          OBJECTIONS AND RESPONSES OF DEFENDANT PHILIPS TAIWAN LIMITED TO INDIRECT PURCHASER
                               PLAINTIFFS’ FIRST SET OF INTERROGATORIES
     Case 4:07-cv-05944-JST Document 3027-3 Filed 11/07/14 Page 25 of 34



 1                                   CERTIFICATE OF SERVICE
 2          I HEREBY CERTIFY that I caused a true and correct copy of the documents listed below
 3   to be served by e-mail transmission on September 3, 2014 to each of the persons set forth in the
 4   attached service list below.
 5
                1. Objections and Responses of Defendant Philips Taiwan Limited to Indirect
 6                 Purchaser Plaintiffs’ First Set Of Interrogatories

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 8   Dated: September 3, 2014

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          OBJECTIONS AND RESPONSES OF DEFENDANT PHILIPS TAIWAN LIMITED TO INDIRECT PURCHASER
                               PLAINTIFFS’ FIRST SET OF INTERROGATORIES
     Case 4:07-cv-05944-JST Document 3027-3 Filed 11/07/14 Page 26 of 34



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 2
                  In re: Cathode Ray Tube (CRT) Antitrust Litigation - MDL No. 1917
 3
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     Lauren C. Capurro (Russell)                       R. Alexander Saveri
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 7   LLP                                               E-mail: grushing@saveri.com
                                                       SAVERI & SAVERI, INC.
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     Purchaser Plaintiffs                              Interim Lead Counsel for the Direct Purchaser
 9                                                     Plaintiffs
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     E-mail: anardacci@bsfllp.com                      OF CALIFORNIA
12   BOIES, SCHILLER & FLEXNER LLP
                                                       Attorneys for the State of California
13
     Liaison Counsel for Direct Action Plaintiffs
14                                          All defense counsel

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         OBJECTIONS AND RESPONSES OF DEFENDANT PHILIPS TAIWAN LIMITED TO INDIRECT PURCHASER
                              PLAINTIFFS’ FIRST SET OF INTERROGATORIES
Case 4:07-cv-05944-JST Document 3027-3 Filed 11/07/14 Page 27 of 34




                  EXHIBIT 6
         Case 4:07-cv-05944-JST Document 3027-3 Filed 11/07/14 Page 28 of 34



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 3 Palo Alto, CA 94304
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 6 BAKER BOTTS L.L.P.
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 7 Joseph Ostoyich (pro hac vice)
   Erik T. Koons (pro hac vice)
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13

14 Attorneys for Defendant Philips do Brasil, Ltda.

15
                                   UNITED STATES DISTRICT COURT
16                               NORTHERN DISTRICT OF CALIFORNIA
                                      SAN FRANCISCO DIVISION
17

18 In re: CATHODE RAY TUBE (CRT)                       Master File No. 3:07-cv-05944-SC (N.D. Cal.)
   ANTITRUST LITIGATION
19                                                     MDL No. 1917
   ________________________________________
20                                                     OBJECTIONS AND RESPONSES OF
                                                       DEFENDANT PHILIPS DO BRASIL, LTDA.
21
     This Document Relates to:                         TO INDIRECT PURCHASER PLAINTIFFS’
22                                                     FIRST SET OF INTERROGATORIES
         ALL INDIRECT PURCHASER ACTIONS
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           OBJECTIONS AND RESPONSES OF DEFENDANT PHILIPS DO BRASIL, LTDA. TO INDIRECT PURCHASER
                                PLAINTIFFS’ FIRST SET OF INTERROGATORIES
        Case 4:07-cv-05944-JST Document 3027-3 Filed 11/07/14 Page 29 of 34



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     PROPOUNDING PARTY:                      Indirect Purchaser Plaintiffs
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     RESPONDING PARTY:                       Philips do Brasil, Ltda.
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     SET NO.:                                One
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          OBJECTIONS AND RESPONSES OF DEFENDANT PHILIPS DO BRASIL, LTDA. TO INDIRECT PURCHASER
                               PLAINTIFFS’ FIRST SET OF INTERROGATORIES
     Case 4:07-cv-05944-JST Document 3027-3 Filed 11/07/14 Page 30 of 34



 1   allocate customers and/or allocate market share of CRTs?
 2   RESPONSE TO INTERROGATORY NO. 1
 3          In addition to PDBL’s General Objections, which PDBL incorporates by reference,
 4   PDBL specifically objects to this Interrogatory on the grounds that it is overbroad, unduly
 5   burdensome, and not reasonably calculated to lead to the discovery of admissible evidence.
 6   PDBL objects to this Interrogatory on the grounds that it calls for a legal conclusion.
 7          PDBL also objects to this Interrogatory on the grounds that the terms “participated” and
 8   “conspiracy,” “fix prices,” “limit production,” “capacity,” “allocate customers,” and “allocate
 9   market share” are vague and ambiguous, rendering this Interrogatory overbroad, unduly
10   burdensome, and not reasonably calculated to lead to the discovery of admissible evidence.
11          Subject to and without waiving the objections stated above, PDBL never “participated in
12   any conspiracy to fix prices, limit production or capacity, allocate customers and/or allocate
13   market share of CRTs.”
14   INTERROGATORY NO. 2
15          If You contend that You withdrew from any CRT Conspiracy, state:
16                 (a) Why You withdrew from the conspiracy;
17                 (b) What specific acts You took to withdraw from the CRT Conspiracy;
18                 (c) Any co-conspirators or Law Enforcement Agents to whom You communicated
19                 Your withdrawal; and
20                 (d) Who withdrew from the CRT Conspiracy on your behalf.
21   RESPONSE TO INTERROGATORY NO. 2
22          In addition to PDBL’s General Objections, which PDBL incorporates by reference,
23   PDBL specifically objects to this Interrogatory on the grounds that it is overbroad, unduly
24   burdensome, not reasonably calculated to lead to the discovery of admissible evidence, and
25   seeks information that is maintained by and equally available to IPPs or stated in publicly
26   available documents. PDBL objects to this Interrogatory to the extent that the terms
27   “withdrew,” “withdraw,” and “withdrawal” call for a legal conclusion. PDBL also objects to
28                                                10                                      MDL 1917
         OBJECTIONS AND RESPONSES OF DEFENDANT PHILIPS DO BRASIL, LTDA. TO INDIRECT PURCHASER
                              PLAINTIFFS’ FIRST SET OF INTERROGATORIES
     Case 4:07-cv-05944-JST Document 3027-3 Filed 11/07/14 Page 31 of 34



 1   this Interrogatory on the grounds that the terms “specific acts,” “co-conspirators,” and
 2   “communicated” are vague and ambiguous, rendering this Interrogatory overbroad, unduly
 3   burdensome, and not reasonably calculated to lead to the discovery of admissible evidence.
 4          Subject to and without waiving the objections stated above, PDBL states that PDBL
 5   never participated in any conspiracy. In addition to this fact, PDBL exited the CRT business in
 6   June 2001. At that time, Koninklijke Philips N.V. (“KPNV”) divested all of its CRT-related
 7   assets and operations to LP Displays (f/k/a LG.Philips Displays) (“LPD”), an independently
 8   operated joint venture between KPNV with LG Electronics. Therefore, upon the formation of
 9   LPD, all subsidiaries of KPNV, including PDBL, divested their CRT manufacturing,
10   distribution, and selling assets. Upon the formation of LPD, KPNV communicated PDBL’s exit
11   from the manufacturing, distribution, and selling of CRTs. These communications were open
12   and notorious in the CRT industry.
13   INTERROGATORY NO. 3
14          If Your answer to Interrogatory No. 2, above, is in the affirmative, identify all Evidence
15   upon which You intend to rely to prove such contention.
16   RESPONSE INTERROGATORY NO. 3
17          In addition to PDBL’s General Objections, which PDBL incorporates by reference,
18   PDBL specifically objects to this Interrogatory on the grounds that it is overbroad, unduly
19   burdensome, not reasonably calculated to lead to the discovery of admissible evidence, and
20   seeks information that is maintained by and equally available to IPPs or stated in publicly
21   available documents. PDBL objects to this Interrogatory on the grounds that it calls for a legal
22   argument or legal conclusion. PDBL also objects that the terms “intend” and “contention” are
23   vague and ambiguous, rendering this Interrogatory overbroad, unduly burdensome, and not
24   reasonably calculated to lead to the discovery of admissible evidence.
25          Subject to and without waiving the objections stated above and pursuant to Federal Rule
26   of Civil Procedure 33(d), although not limited to the following, KPNV refers to the documents
27   previously produced at the following Bates numbers: PHLP-CRT-027882; PHLP-CRT-031121;
28                                                11                                      MDL 1917
         OBJECTIONS AND RESPONSES OF DEFENDANT PHILIPS DO BRASIL, LTDA. TO INDIRECT PURCHASER
                              PLAINTIFFS’ FIRST SET OF INTERROGATORIES
     Case 4:07-cv-05944-JST Document 3027-3 Filed 11/07/14 Page 32 of 34



 1
     Dated: September 3, 2014                  BAKER BOTTS LLP
 2

 3

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         OBJECTIONS AND RESPONSES OF DEFENDANT PHILIPS DO BRASIL, LTDA. TO INDIRECT PURCHASER
                              PLAINTIFFS’ FIRST SET OF INTERROGATORIES
     Case 4:07-cv-05944-JST Document 3027-3 Filed 11/07/14 Page 33 of 34



 1                                   CERTIFICATE OF SERVICE
 2          I HEREBY CERTIFY that I caused a true and correct copy of the documents listed below
 3   to be served by e-mail transmission on September 3, 2014 to each of the persons set forth in the
 4   attached service list below.
 5
                1. Objections and Responses of Defendant Philips do Brasil, Ltda. to Indirect
 6                 Purchaser Plaintiffs’ First Set Of Interrogatories

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 8   Dated: September 3, 2014

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         OBJECTIONS AND RESPONSES OF DEFENDANT PHILIPS DO BRASIL, LTDA. TO INDIRECT PURCHASER
                              PLAINTIFFS’ FIRST SET OF INTERROGATORIES
     Case 4:07-cv-05944-JST Document 3027-3 Filed 11/07/14 Page 34 of 34



 1

 2
                  In re: Cathode Ray Tube (CRT) Antitrust Litigation - MDL No. 1917
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                                                       Attorneys for the State of California
13
     Liaison Counsel for Direct Action Plaintiffs
14                                          All defense counsel

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         OBJECTIONS AND RESPONSES OF DEFENDANT PHILIPS DO BRASIL, LTDA. TO INDIRECT PURCHASER
                              PLAINTIFFS’ FIRST SET OF INTERROGATORIES
